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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )              Case No. 8:09CR29
                    Plaintiff,                 )
                                               )
      vs.                                      )
                                               )                   ORDER
DENNIS WIESE,                                  )
                                               )
                    Defendant.                 )


      The defendant appeared on February 12, 2009 for initial appearance and

arraignment in the above matter. He was found to be indigent and counsel was appointed.

The defendant made an oral motion to return to Sioux City, Iowa where he is presently on

supervised release in the Northern District of Iowa. The motion will be granted.

      IT IS ORDERED:

      1. The oral motion for transportation is granted.

      2. The United States Marshal shall transport the defendant from the Cass County

Jail to the Omaha bus depot on Friday, February 13 and shall provide bus transportation

for defendant from Omaha, Nebraska to Sioux City, Iowa.

 DATED this 12th day of February, 2009.


                                            BY THE COURT:


                                            S/ F. A. Gossett
                                            United States Magistrate Judge
